CaSe 3216-bk-02230-P|\/|G DOC 1256 Filed 11/02/18 Page 1 Of 12

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

JACKSONVILLE DIVISION
ln re: Chapter 11
RMS TITANIC, lNC., et al., Case No.: 3:16-bk-002230-PMG
(Jointly Administered)

Debtors.
/

DEFENDANTS’ MOTION TO AMEND CONSENT ORDER GRANTING THE MOTION FOR
ENTRY OF CONSENT ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY TO
AUTHORIZE ADVANCEMENT, REIMBURSEMENT AND/OR PAYMENT OF COSTS AND

MS UNDER THE DEBTOR_S’ DIRECTORS AND OFFICERS INSURANCE POLICY

Defendants, Mark A. Sellers, Douglas Banker, Richard Kraniak, and Jack H. Jacobs (“Director
Defendants”), move this Court to amend its Consent Order Granting the Motion for Entry of Consent
Order Granting Relief From the Automatic Stay to Authorize Advancement, Reimbursement and/or
Payment of Costs and Fees Under the Debtor’s Director and Officers Insurance Policy dated October 20,
2017 [D.E. 784]. As grounds therefor, the Director Defendants state:

BACKGROUND

1. Effective as of December 29, 2014, National Union Fire lnsurance Company of
Pittsburgh, PA (“National Union” or “Insurer”) issued Policy No. 02-420_'14-17 (the “Policy”) to the
Premier Exhibitions, Inc. and subsidiaries (“Debtors”), With a policy period of December 29, 2014 to
December 29, 2015 (the “Policy Period”), Which Policy includes directors & officers coverage under Side
A of the Policy in the event of claims against officers and directors not indemnified by the Debtor (the
“D&O Coverage”). The Policy is attached hereto as Exhibit “A.” Significantly, the Policy provides that

payments made under the D&O Coverage for the benefit of Director Defendants take priority over any

payments made under all other coverages afforded by the Policy. Exh. “A” at §3.B.

CaSe 3216-bk-O2230-P|\/|G DOC 1256 Filed 11/O2/18 Page 2 Of 12

2. Subject to its terms and conditions, the Policy provided a Limit of Liability (as defined in
the Policy) of $5,000,000.00 for claims, inclusive of Defense Costs (as defined in the Policy). Exh. A at
§6 and Endorsement #27. The Policy includes a self-insured Retention of $1,000,000; but further
provides that, in the event the Debtor is unable to pay the Retention due to Financial Insolvency (as
defined in the Policy), the lnsurer shall commence advancing Loss or Defense Costs (as defined in the
Policy) to the Director Defendants irrespective of the Retention. Id. at §5 and Declarations Pages at 115.

3. Upon the 2015 merger between Premier Exhibitions, Inc. and DinoKing Tech, Inc. on
November 1, 2015, pursuant to Endorsement 27 , the Policy was made subject to a Run-Off Clause which
cut off the Policy Period on that date thus terminating coverage for any claims made for alleged wrongful
acts by officers and directors of the Debtor Ler the merger but also allowing notice to be given, and
coverage provided, for claims, circumstances and inquiries for alleged wrongful acts of officers and
directors M November 1, 2015 if made during the following two (2) years or before November 1,
2017 .

4. On August 24, 2016, a committee of equity security holders of the Debtor (the “Equity
Committee”) was appointed in the Debtors’ chapter ll cases.

5 . During the Policy run-off period, by letter dated October 31, 2016 (the “Claims Letter”),
the Equity Committee provided notice of certain potential claims and causes of action (the “Potential
Actions”) against, among others, Ronald C. Bernard, Bruce Steinberg, and William M. Adams, former
directors of the Debtor (the “lnsured Former Directors”).

6. The Insured Former Directors provided notice of the Claims Letter and Potential Actions
to National Union.

7. As former directors of certain of the Debtors the Insured Former Directors are Insured
Persons under the Policy, and are entitled to coverage in accordance with the terms of the Policy.

8. The lnsured Former Directors retained Proskauer Rose (“lnsured Former Directors’
Counsel”) to represent them in connection with the Potential Actions, including responding to the Claims

Letter.

CaSe 3216-bk-O2230-P|\/|G DOC 1256 Filed 11/O2/18 Page 3 Of 12

9. ln response to the Claims Letter and notice of Potential Actions, National Union stated
that before it advanced the defense costs incurred and to be incurred by the Insureds Former Directors and
Insureds Former Directors Counsel, subject to its reservation of rights, it required confirmation from the
Court that such payments will not violate the Automatic Stay imposed by operation of section 362 of title
11 of the United States Code (the “Bankruptcy Code”).

lO. Accordingly, on October 20, 2017 this Court entered a Consent Order Granting the
Motion for Entry of Consent Order Granting Relief From the Automatic Stay to Authorize Advancement,
Reimbursement and/or Payment of Costs and Fees Under the Debtor’s Directors and Officers Insurance
Policy [D.E. 784] (“Consent Order”). This Consent Order was entered on motion by the Debtors [D.E.
765], without the involvement, much less the agreement of the Director Defendants, but apparently with
the agreement of the Plaintiff Equity Committee and a committee of unsecured creditors.

11. However, no action was commenced against the lnsured Former Directors.

12. Instead, on June 4, 2018 an adversary proceeding styled Official Committee of Equity

Securitv Holders of Premier Exhibitions, Inc. v. Mark A. Sellers, et al, Adv. Case No. 3:18-ap-00064-

 

PMG, in the United States Bankruptcy Court for the Middle District of Florida (“Adversary Proceeding”)
was commenced against the Director Defendants.

13. The Director Defendants are Insureds under the D&O Coverage.

l4. Undersigned counsel were retained by the Director Defendants to represent them in the
Adversary Proceeding and have been approved by National Union to undertake the representation subject
to a reservation of rights.

15. The Consent Order provides no relief to the Director Defendants. It does not lift the
automatic stay with regard to the expected defense costs likely to be incurred in the Adversary
Proceedings. Rather, paragraph 2(a) of the Consent Order specifically limits the stay lift only for the
payment of limited defense costs to the lnsured Former Directors, none of whom are named as defendants

in the Adversary Proceedings, with respect to the Claims Letter.

CaSe 3216-bk-O2230-P|\/|G DOC 1256 Filed 11/O2/18 Page 4 Of 12

16. Given the narrow scope of the Consent Order, National Union has again indicated that
before it advances the defense costs incurred and to be incurred by the Director Defendants in the
Adversary Proceedings, subject to its reservation of rights, it requires confirmation from the Court that
such payments will not violate the Automatic Stay imposed by operation of section 362 of the Bankruptcy
Code.

l7. The Consent Order contains additional provisions that are also inapplicable to the needs
and rights of the Director Defendants in the Adversary Proceedings. It contains restrictions on the
amount of Defense Costs that can be advanced on a monthly and annual basis which would unfairly limit
the Director Defendants’ ability to defend themselves in the Adversary Proceeding. The Court’s referral
of the parties to mediation in accordance with their agreement, provides for significant activities: the
selection of the mediator, comprehensive albeit informal document discovery among the Plaintiff and six
defendants, the exchange of positions on the law and facts supporting or defeating liability, and preparing
for and conducting both early mediation and a scheduling conference in the event the case is not resolved
in mediation. [D.E. 784].

18. The Consent Order submitted by the Debtor, in agreement with the Plaintiff, at Paragraph
2(b)(i) limits the total payments “for all Insured Persons” to $60,000 per quarter and $250,000 in the
aggregate There should be no limitation on the access of the Director Defendants as lnsured Persons, to
the advancement of defense costs under their D&O Coverage, much less one imposed by the Plaintiff,

19. The Consent Order at paragraph 2(b)(ii) also requires the Director Defendants (again as
“lnsured Persons”) to provide a 30-day notice to the Plaintiff, the Debtor and the Unsecured Creditor’s
Committee of any payments in excess of the restriction in paragraph 2(b)(i). It Would be highly
prejudicial for the Plaintiff (or any non-parties to the Adversary Proceedings such as the Debtor and the
Unsecured Creditors Committee) to have the ability to police the Director Defendants’ access and use of
the D&O Coverage for their defense costs and to embroil them in collateral proceedings that could impact

their continued representation by defense counsel.

CaSe 3216-bk-O2230-P|\/|G DOC 1256 Filed 11/O2/18 Page 5 Of 12

20. The Director Defendants should not be limited by any prior agreement among the Debtor,
the Plaintiff and a committee of unsecured creditors. The coverage afforded to the Director Defendants
under Side A of the Policy is not an asset of the Debtor, nor property of the bankruptcy estate. See, e.g.,
In re CHS Elecs., Inc., 261 B.R. 538, 542 (Bankr. S.D. Fla. 2001). It provides coverage to the individual
insureds, the Director Defendants, alone. And, as noted above under the Policy, payments made to the
individual insureds under Side A take priority over payments made to any other insured under any other
coverage provided by the Policy.

RELIEF REQUESTED

21. The Director Defendants seek entry of an order granting relief from the automatic stay for
National Union to advance Defense Costs or any other losses suffered by the Director Defendants in the
Adversary Proceedings.

22. The Director Defendants seek entry of an unrestricted order lifting the stay, in the form
submitted herewith as Exhibit “B”.

ARGUMENT AND AUTHORITY

23. Section 362(d)(1) of the Bankruptcy Code provides that this Court may modify the
automatic stay “for cause”. 11 U.S.C. § 362(d)(1). The Bankruptcy Code does not, however, define
“cause”, and as a result, the decision to lift the automatic stay is to be determined at the Court’s discretion
on a case-by-case basis. Disciplinary Bd. v. Feingold (In re Feingold), 730 F.3d 1268, 1277 (llth Cir.
2013). The decision to lift the stay is within the discretion of the Bankruptcy Court Judge. In re Dixie
Broad, Inc., 871 F.2d 1023, 1026 (l lth Cir. 1989).

24. ln determining whether a party has a cognizable property interest in an insurance policy,
the language and scope of the policy at issue is dispositive. In re Allied Digital Technologi'es Corp., 306
B.R. 505, 509 (Bankr.D.Del.2004). This is a fact-based analysis turning on who is the named insured
under the insurance policy and what coverage provides protection against claims that may be asserted

against that insured. See In re Minoco Group of Companies, Ltd., 799 F.2d 517, 519 (9th Cir.l986).

CaSe 3216-bk-O2230-P|\/|G DOC 1256 Filed 11/O2/18 Page 6 Of 12

25. The proceeds of a directors and officers liability insurance policy are not deemed
property of a Debtor or bankruptcy estate, See, e.g., In re Louisiana World Exhibition, 832 F.2d 1391,
1460 (5th Cir.l987) (“the liability proceeds payable to the directors and officers are not part of the
bankruptcy estate.”); In re CHS Electronics, Inc., 261 B.R. 538, 544 (Bankr.S.D.Fla.ZOOl) (D & 0 policy
proceeds are not property of the estate, adopting holding in In re Louisiana World Exposition, Inc.,
supra). See also, In re World Health Alternatives, Inc., 369 B.R. 805, 811 (Bankr.Del.2007) (“[T]he
proceeds of the Debtor’s [D & O] insurance policy are not property of the estate.”); In re Global Crossing
Securities and ERISA Litig., 225 F.R.D. 436, 463 (S.D.N.Y.2004) (“individual insureds have a right to
use the policies’ proceeds to cover their defense and settlement costs in litigation”); In re Adelphia
Communications Corp., 298 B.R. 49, 54 (S.D.N.Y.2003) (Debtor has no property interest in D & 0
policy proceeds); In re First Central Financial Corp., 238 B.R. 9, 13 (Bank.E.D.N.Y.1999); In re Daisy
Sys. Sec. Liligation, 132 B.R. 752, 755 (N.D.Cal.l991).

26. Further, courts generally grant relief from the automatic stay to permit the advancement
of defense costs to a debtor’s directors and officers even though the insurance policy also technically
provides direct coverage to debtor for some types of claims. See, e.g., In re MF Global Holdings, Ltd.,
469 B.R. 177, 197 (Bankr. S.D.N.Y. 2012) (lifting the automatic stay to permit payment of the individual
insureds’ defense costs); In re Allied Digital Technologies Corp., 306 B.R. 505, 509 (Bankr. D. Del.
2004) (authorizing insurer to advance defense costs under D&O policy); In re Adelphia Communications
Corp., 298 B.R. 49, 55 (S.D.N.Y. 2003) (granting relief from stay to advance defense costs).

27. Side A of the Policy does not provide any right to the Debtor for any D&O Coverage
proceeds. Side A only covers losses of individual officers and directors of the Debtor when the Debtor
fails for any reason to inderrmify its directors and officers who have been sued for actions taken in their
capacities as directors and officers. Side B provides coverage under the Policy to the Debtor when it
actually indemnifies directors and officers for claims against them. The Debtor has not and will not be in
a position to indemnify its current and former directors for any Defense Costs, settlements or judgments

in the Adversary Proceedings. Side C of the Policy is strictly limited to coverage for the Debtor for any
6

CaSe 3216-bk-O2230-P|\/|G DOC 1256 Filed 11/O2/18 Page 7 Of 12

securities and derivative claims made against the Debtor. No such claims have been asserted or will be
against the Debtor. Therefore, any claim of the Debtor to the Policy proceeds is purely hypothetical.
Moreover, as noted above, even if such claims existed, the Policy provides that the payment of losses to
the Director Defendants under the D&O Coverage would take priority under the terms of the Policy. Exh.
A at §3.B. As such, the Debtor has no property interest at issue and there will be no prejudice to the
Debtor if the stay is lifted.

28. In stark contrast, if the stay is not lifted, there will be considerable hardship to the
Director Defendants. The Director Defendants’ hardship is very real and easily identifiable. They are in
need of their contractual right to the payment of defense costs and would be harmed if disbursements are
not presently made to fund their defense in the Adversary Proceedings. See In re Cybermedica, 280 B.R.
12, 18 (Bankr. D. Mass. 2002); also In re Downey Fin’l Corp., 428 B.R. 595, 609 (Bankr. D. Del. 2010).

29. As such, “cause” exists for amending the Consent Order to permit National Union to
advance defense costs to the Director Defendants under the Policy’s D&O Coverage without any
limitations or restrictions.

30. The Director Defendants submit herewith as Exhibit “B”, a proposed order amending the
Consent Order granting relief from the automatic stay to the extent necessary to allow the advancement,
reimbursement and/or payment of costs and fees of the Director Defendants.

WHEREFORE, the Directors Defendants respectfully request entry of the Order Amending
Consent Order: (i) granting relief from the automatic stay to the extent necessary to allow the National
Union to advance, reimburse and/or pay costs and fees for the Director Defendants under the directors
and officers insurance policy; and (ii) granting such other and further relief as the Court may deem just

and proper.

CaS€ 3216-bk-O2230-P|\/|G

Dated: November 2, 2018.

By: s/ Alan Curley

Doc 1256 Filed 11/02/18 Page 8 of 12

Respectfully submitted,

By:

 

Alan Curley

Admitted pro hac vice

Robinson Curley P.C.

300 South Wacker Drive, Suite 1700
Chicago, Illinois 60606

Telephone: (617) 951-04705
acurlev@robinsoncurlev.com
adolinko@robinsoncurlev.com

By: /s/John T. Rogerson, III

 

John T. Rogerson, III

Adams and Reese. LLC

501 Riverside Avenue, Suite 601,
Jacksonville, FL 32202
Telephone: 904.493.3303
Facsimile: 904.355.1797
john.rogerson@arlaw.com

Counsel for Director Defendants
MarkA. Sellers and Jack H. Jacobs

/s/ Cristina B. Rodriguez

 

Cristina B. Rodriguez

Florida Bar No. 639982

Lewis F. Murphy

Florida Bar No. 308455

STROOCK & STROOCK & LAVAN LLP
200 South Biscayne Boulevard, Suite 3100
Miami, Florida 33131

Telephone: (305) 358-9900

Facsimile: (305) 789-9302

lm h stroock.com
cbrodriguez@stroock.com
dtejada@stroock.com
nydocketing@stroock.com

Attomeys for Director Defendants
Douglas Banker and Richard Kraniak

Case 3216-bk-O2230-P|\/|G DOC 1256 Filed 11/O2/18 Page 9 Of 12

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on November 1, 2018, the foregoing was transmitted to the Court for
uploading to the Case Management/Electronic Case Files (“CM/ECF”) System, which will send a notice
of electronic filing to all creditors and parties in interest who have consented to receiving electronic
notifications in the Case. In accordance with the Court’s Order Granting Debtors’ Motion for an Order
Pursuant to 11 U.S.C. § 105(a) and Rule 2002 Establishing Notice Procedures [D. E. 140], a copy of the
foregoing was also furnished on November 1, 2018 by U.S. Mail, postage prepaid and properly
addressed, to the Master Service List attached hereto.

Robert P Charbonneau

Agentis, PLLC

501 Brickell Key Drive, Suite 300
Miami, FL 33131

Telephone: (305) 722-2002

Fax : (305) 722-2001

;pc@agentislaw.com
Counsel for Plaintiij

Jacob A. Brown, Esq.
Akerman LLP

50 N. Laura Street, Suite 3100
Jacksonville, FL 32202
Telephone: (904) 798-3700
Jacob.brown@akerman.com

 

Counsel for Plaintiij

Peter J. Gurfein, Esq.

Landau Gottfried & Berger LLP
1801 Century Park East, Suite 700
Los Angeles, CA 90067
Telephone: (310) 557-0050

pgmein@lgbfirm.com

Counsel for Plaintiij

Jim Henshall, Esq.

J ames A. Henshall Law Corporation
210-900 Howe St.

Vancouver, BC

V6Z 2M4

Telephone: (604) 608-0383

jhenshall@hs-law.ca

Counsel for Defendant Daoping Bao

Alan F. Curley, Esq.

Alan R. Dolinko, Esq.

Robinson Curley P.C.

300 South Wacker Drive, Suite 1700
Chicago, Illinois 60606

Telephone: (617) 951-04705
acurlev@robinsoncurlev.com
adolinko@robinsoncurlev.com

 

 

John T. Rogerson, III

Adams and Reese LLP

501 Riverside Avenue, Suite 601 | Jacksonville, FL
32202

main 904.355.1700 | direct 904.493.3303 |

efax 904.394.0570 | fax 904.355.1797
john.rogerson@arlaw.com

Counselfor Defendants MarkA. Sellers and Jack H.
Jacobs

Kenneth D. Murena, Esq.
Darnian & Valori LLP

1000 Brickell Avenue, Suite 1020
Miami, Florida 33131

kmurena@dvllp.com

Counselfor Defendants Sellers Capital, LLC and
Sellers Capital Master Fund, Ltd.

Case 3216-bk-O2230-P|\/|G DOC 1256 Filed 11/O2/18 Page 10 Of 12

 

Brian Wainger, Esq. Robert McFarland, Esq.

Kaleo Legal McGuire Woods LLP

4456 Corporation Lane, Suite 135 World Trade Center

Virginia Beach, VA 23462 101 West Main Street, Suite 9000
Telephone: (757) 965-6804 Norfolk, Virginia 2310-1655
bwainger@kaleolegal.com rmcfarland@mcguirewoods.com

Counsel for Debtor Premier Exhibitions, Counselfor Debtor Premier Exhibitions, Inc.
Inc.

/s/ Cristina B. Rodriguez

 

Cristina B. Rodriguez

10

Case 3216-bk-O2230-P|\/|G DOC 1256 Filed 11/O2/18

Page 11 of 12

MASTER SERVICE LIST
Case No. 3:16-bk-02230-PMG

A-1 Storage and Crane
2482 197th Avenue
Manchester, IA 52057

A.N. Deringer, Inc.
P.O. Box 11349
Succursale Centre-Ville
Montreal, OC H3 5H1

Broadway Video

30 Rockefeller Plaza
54th Floor

New York, NY10112

Dentons Canada LLP
250 Howe Street, 20th Floor
Vancouver, BC V6C 3R8

Expedia, Inc.
10190 Covington Cross Drive
Las Vegas, NV 89144

Gowlings

550 Burrard Street

Suite 2300, Bental 5
Vancouver, BC V6C 2B5

Kirvin Doak Communications
5230 W. Patrick Lane
Las Vegas, NV 89118

Morris Visitor Publications
P.O. Box 1584
Augusta, GA 30903

National Geographic Society
1145 - 17th Avenue NW
Washington, DC 20036

PacBridge Limited Partners
22/F Fung House

19-20 Connaught Road
Central Hong Kong

11

ABC Irnaging
14 East 38th Street
New York, NY 10017

ATS, Inc.
1900 W. Anaheim Street
Long Beach, CA 90813

CBS Outdoor/Outfront
Media 185 US Highway 48
Fairfield, NJ 07004

Enterprise Rent-A-Car
Canada 709 Miner Avenue
Scarborough, ON MlB 6B6

George Young Company
509 Heron Drive
Swedesboro, NJ 08085

Hoffen Global Ltd.
305 Crosstree Lane
Atlanta, GA 30328

MNP LLP

15303 - 31St Avenue
Suite 301

Surrey, BC V3Z 6X2

NASDAQ Stock Market, LLC
805 King Farrn Boulevard
Rockville, MD 20850

NYC Dept. of Finance
P.O. Box 3646
New York, NY 10008

Pallet Rack Surplus, Inc.
1981 Old Covington Cross Road NE
Conyers, GA 30013

Case 3216-bk-O2230-P|\/|G DOC 1256 Filed 11/O2/18 Page 12 Of 12

Ramparts, Inc.

d/b/a Luxor Hotel and Casino
3900 Las Vegas Blvd. South
Las Vegas, NV 89119

Seaventures, Ltd.
5603 Oxford Moor Blvd.
Windemere, FL 34786

Syzygy3, Inc.
231 West 29th Street

Suite 606
New York, NY 10001

TPL

3340 Peachtree Road
Suite 2140

Atlanta, GA 30326

Verifone, Inc.
300 S. Park Place Blvd.
Clearwater, FL 33759

WNBC - NBC Universal Media
30 Rockefeller Center
New York, NY10112

Jonathan B. Ross, Esq.

Gowling WLG (Canada) LLP

550 Burrard Street, Suite 2300, Bentall 5
Vancouver, BC V6C 2B5

TSX Operating Co., LLC
c/o James Sanna

70 W. 40th Street

New York, NY 10018
Creditor Committee

B.E. Capital Management Fund LP
Thomas Branziel

205 East 42nd Street, 14th Floor
New York, NY 10017

Creditor Committee

12

Screen Actors Guild
1900 Broadway

5th Floor

New York, NY 10023

Sophrintendenza Archeologica
di Napoli e Pompei

Piazza Museo 19

Naples, Italy 80135

Time Out New York
405 Park Avenue
New York, NY 10022

TSX Operating Co.
70 West 40th Street
9th Floor

New York, NY 10018

Samuel Weiser
565 Willow Road
Winnetka, IL 60093

United States Attorney’s Office
Middle District of Florida

300 N. Hogan Street, Suite 700
Jacksonville, FL 32202

Christine R. Etheridge, Esq.

Bankruptcy Administration

Wells Fargo Vendor Financial Services, LLC
P.O. Box 13708

Macon, GA 31208

Dallian Hoffen Biotechnique Co., Ltd.
c/o Ezra B. J ones

305 Crosstree Lane

Atlanta, GA 30328

Creditor Committee

